            Case
7/16/23, 2:00 PM 5:23-cv-11074-JEL-EAS                       ECFThe
                                                                 No.   17-23,
                                                                    Libertarian    PageID.1074
                                                                                Party Mail - [LNC Contact) Filed   07/22/23 Page 1 of 4
                                                                                                           Mike Saliba




                Gmail                                                                                               Secretary LNC <secretary@lp.org>



  [LNC Contact] Mike Saliba
  9 messages

  Libertarian Party <noreply@my.lp.org>                                                           Mon, Mar 6, 2023 at 6 39 PM
  Reply-To TheMikeSaliba@yahoo.com
  To lnc-region1@lp.org, lnc-region2@lp.org, lnc-region3@lp.org, lnc-region4@lp.org, lnc-region5@lp.org, lnc-region6@lp.org,
  lnc-region7@lp.org, lnc-region8@lp.org, chair@lp.org, vicechair@lp.org, secretary@lp.org, treasurer@lp.org


     Contact LNC Members

     Contact the LNC

     First Name

     Mike

     Last Name

     Saliba

     Email Address

     TheMikeSaliba@yahoo.com

     Note

    To The Members of The LNC,
    As of this afternoon, Ms. McArdle has received a letter from my attorney representing the true Libertarian Party of
    Michigan. This letter should also be taken as the basis for my appeal to the Judicial Committee against Ms. McArdle's
    recent use of party resources, including an email sent to the entire membership in Michigan on Sunday, March 5th, in
    violation of our bylaws. Our bylaws clearly state : "The autonomy of the affiliate and sub-affiliate parties shall not be
    abridged by the National Committee or any other committee of the Party, except as provided by these bylaws.". As far as
    the situation in Michigan, Andrew Chadderdon has made it clear with the letters sent by his attorney that he wishes to
    settle this in court. This is a Michigan dispute and it will be settled in Michigan. This dispute has not been adjudicated in
    anyway at the national level and it is completely inappropriate for party resources to be used to aide the personal
    preference of members of this committee.

     Copies of the letter sent to Ms. McArdle can be provided upon request at the email address used to fill out this contact
     form.

     Mike Saliba,
     True Chair,
     Libertarian Party of Michigan



  Secretary LNC <secretary@lp.org>                                                                  Mon, Mar 6, 2023 at 644 PM
  To TheMikeSaliba@yahoo.com
  Cc: chair@lp.org, lnc-region1@lp.org, lnc-region2@lp.org, lnc-region3@lp.org, lnc-region4@lp.org, lnc-region5@lp.org, Inc-
  reg ion6@I p org, Inc-reg ion7@1p.o rg, Inc-reg ion8@Ip org, treasu rer@lp.org, vicechair@I p.org

     Mr Saliba. You must appeal to the JC not LNC.

    And there was no decision of the LNC - refusal to vote to deny authority is not a decision.
                                                                                                                                     EXHIBIT 62
     But as I told you multiple times, you can appeal an alleged constructive disaffiliation. Your time on that is running out
     The JC determines the start date but it seems to me (and again I might be wrong) it could expire 3/13.

                                                           EXHIBIT 62
h Ups:/Im ail.google.com/m ail/u/ 1/?ik=Seeef d4fa3&view=p t&search=all&perm thid= thread-f: 1759667340702378269&sim pl=m sg-f: 1759667340702378269&sim pl= m..   1/3
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                                                                     Libertarian    PageID.1075
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                                                                                       Mail - [LNC Contact] Mike    07/22/23 Page 2 of 4
                                                                                                                 Saliba


     I will send you privately, copying the chair, how to appeal to the JC
     [Quoted text hidden]



     In Liberty, Caryn Ann Harlos
     LNC Secretary and LP Historical Preservation Committee Chair~ 561.523.2250


  Secretary LNC <secretary@lp.org>                                                                Mon, Mar 6, 2023 at 6:49 PM
  To TheMikeSaliba@yahoo.com
  Cc: chair@lp.org, lnc-region1@lp.org, lnc-region2@lp.org, lnc-region3@lp.org, lnc-region4@lp.org, lnc-region5@lp.org, Inc-
  reg ion6@I p.org, Inc-reg ion7@1p.org, Inc-reg ion8@Ip. org, treasurer@lp.org, vicechair@lp org

    Actually there might be one other provision - the vote on the cease and desist letter. I will send you the provisions on
    both.

    Why and I doing this? Not because I agree with you but because you have all of these rights, and I wish you to be able to
    exercise them before the clock runs out

     In Liberty, Caryn Ann Harlos
     LNC Secretary and LP Historical Preservation Committee Chair~ 561.523.2250

     [Quoted text hidden]



  Mike Saliba <themikesaliba@yahoo.com>                                                                                        Mon, Mar 6, 2023 at 7:00 PM
  To Secretary LNC <secretary@lp.org>

     Thank you,

     To clarify, I was already in the process of contacting the JC directly when I received your email. I felt it was necessary to
     make the LNC aware of the current situation first That being said, I await your input for filing with the JC, it's my first time.

    As for some other things

     "And there was no decision of the LNC - refusal to vote to deny authority is not a decision." - Making the decision to email
     all the members in Michigan is a decision. It's the decision to use national party resources on a local dispute.

     "But as I told you multiple times ..." - We never discussed any of this.

     "The JC determines the start date but it seems to me (and again I might be wrong) it could expire 3/13." - What are you
     basing this on, the offending email was sent last night?




     [Quoted text hidden]



  Secretary LNC <secretary@lp.org>                                                                                             Mon, Mar 6, 2023 at 7:02 PM
  To Mike Saliba <themikesaliba@yahoo.com>

     Call me and I will explain

     5615232250
     [Quoted text hidden]



  Secretary LNC <secretary@lp.org>                                                                                             Mon, Mar 6, 2023 at 7:20 PM
  To: Mike Saliba <themikesaliba@yahoo.com>

     Or don't

     Feel free to argue to JC that the email is a decision of the LNC. I don't believe it is (see RONR 1:6) but I'm not the JC.

h Ups://mail. goo gle.com/m ail/u/ 1/?ik=Seeef d4fa3&view=pt&search=all&perm thid=thread-f: 17596673407023 78269&sim pl=m sg-f: 17596673407 02378269&sim pl= m..   2/3
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7/16123, 2:00 PM 5:23-cv-11074-JEL-EAS                        ECFThe
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                                                                     Libertarian    PageID.1076
                                                                                 Party                      Filed
                                                                                       Mail - [LNC Contact] Mike    07/22/23 Page 3 of 4
                                                                                                                 Saliba


     I'm telling you all this because I want you to present a case that doesn't get thrown out.

     You don't have to pick just one. You can file on many grounds.

     There is no time frame I see for the LNC decision appeal but read bylaws for yourself, I could be wrong You do need
     petitions.

     You get an automatic appeal for constructive disaffiliation if the JC follows past practice (they are not obligated to) but that
     has a time frame.

     PLEASE read national bylaws yourself as I might be missing something.
     [Quoted text hidden]



  Mike Saliba <themikesaliba@yahoo.com>                                                                                        Mon, Mar 6, 2023 at 749 PM
  Reply-To: Mike Saliba <themikesaliba@yahoo.com>
  To: secretary@lp.org

     It's a bit late on a Monday for a phone call, thank you for offering.

    As I stated, I feel the dispute in Michigan will be resolved in Michigan by my attorney and Mr. Chadderdons.

    As a dues paying member of the national party, I do not want the LNC using the resources I pay for with my donations to
    interfere in that process. That is this issue I want handled internally by the party through the JC

    All other matters can be handled through my attorney


  Secretary LNC <secretary@lp.org>                                                                                             Mon, Mar 6, 2023 at 7 54 PM
  To Mike Saliba <themikesaliba@yahoo.com>

     I based the 3/13 on the date the case and desist motion passed

     The "I told you several times" was meant less literally. I posted this in the FB group which I assumed you saw I could
     have assumed wrong.

     You can file a petition via automatic right for constructive disaffiliation AND one based on sigs. I did that in DE.
     [Quoted text hidden]



  Secretary LNC <secretary@lp.org>                                                                                             Mon, Mar 6, 2023 at 7:56 PM
  To Mike Saliba <themikesaliba@yahoo.com>

     Okay have a good night.
     [Quoted text hidden]


     [Quoted text hidden]




h Ups://mail. goo gle.com/m ail/u/ 1/?ik=Seeef d4fa3&view=pt&search=all&perm thid=thread-f: 17596673407023 78269&sim pl=m sg-f: 17596673407 02378269&sim pl= m..   3/3
            Case
7/16/23, 2:01 PM 5:23-cv-11074-JEL-EAS                       ECF No.
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                                                                     LibertarianPageID.1077
                                                                                Party Mail - National JCFiled
                                                                                                         appeal 07/22/23 Page 4 of 4




                Gmail                                                                                              Secretary LNC <secretary@lp.org>



  National JC appeal
  1 message

  Secretary LNC <secretary@lp.org>                                                                                            Mon, Mar 6, 2023 at 6 56 PM
  To TheMikeSaliba@yahoo.com, Angela McArdle <chair@lp.org>

    First Article 5:6 - though it mentions disaffiliation, constructive disaffiliation has been recognized by the JC as late as last
    year in the DE matter. The deadline on that appear to run 30 days after that letter was received. You have the letter and
    can calculate that

    If you think the cease and desist letter was an LNC decision that violated some autonomy, look at Article 7, Section 12.
    That requires a petition of a certain number of signatures.

    Proceeding under Article 5:6 does not require a petition but can be done by you alone.]

    Here is the jurisdiction of the national JC
    2. The subject matter jurisdiction of the Judicial Committee is limited to consideration of only those matters expressly
    identified as follows: a. suspension of affiliate parties (Article 5, Section 6), b. suspension of officers (Article 6, Section 7),
    c. suspension of National Committee members-at-large (Article 7, Section 5), d. voiding of National Committee decisions
    (Article 7, Section 12), e. challenges to platform planks (Rule 5, Section 7), f. challenges to resolutions (Rule 6, Section 2),
    and g. suspension of Presidential and Vice-Presidential candidates (Article 14, Section 5).

    You file a petition by sending it to the JC to jc@lp.org

     If you cc me and the Chair we can make sure they got it

    In Liberty, Caryn Ann Harlos
    LNC Secretary and LP Historical Preservation Committee Chair~ 561.523.2250




h tips:/Im ail.goo gle.com/m ail/u/ l/?ik=8eeef d4fa3&view=pt&search=all&perm thid=thread-a:r4521827 637302520925&sim pl=msg-a: r-5751748741806811596   1/l
